
259 A.2d 843 (1969)
Petition of Barry A. FISHER.
No. 935-M.P.
Supreme Court of Rhode Island.
December 19, 1969.
Richard M. Borod, Harold E. Adams, Jr., Providence, for petitioner.
Richard P. McMahon, Arthur H. Feiner, Providence for Board of Bar Examiners.

ORDER
The petitioner became a member of the bar of the State of Alaska in April 1969. He is a recipient of a fellowship grant from the Reginald Herber Smith Fellowship, a foundation administered by the University of Pennsylvania Law School. As noted in In re Nelson and Thoms, R.I., 259 A.2d 839 [filed December 19, 1969], a Smith Fellow is required to work in any one of the numerous legal service programs now being conducted throughout the United States. The petitioner, having chosen to become associated with The Rhode Island Legal Services, Inc., asks that we grant him special permission to practice law in this state during the period of his association with the corporation.
It is hereby ordered that the petitioner be and he hereby is admitted to practice before the courts of this state in all cases in which he is associated with The Rhode Island Legal Services, Inc. Admission to practice under this order shall terminate whenever the petitioner ceases to be associated with the corporation.
